   Case 3:19-md-02885-MCR-HTC Document 4051 Filed 05/17/24 Page 1 of 4




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

  IN RE: 3M COMBAT ARMS                       Case No. 3:19md2885
  EARPLUG PRODUCTS
  LIABILITY LITIGATION

  This Document Relates to                    Judge M. Casey Rodgers
  All Cases                                   Magistrate Judge Hope T. Cannon


                  CASE MANAGEMENT ORDER NO. 91
               (Requiring Non-Ledgering Firm Ledgering Data)

      The Settlement Program has now paid 45,105 Participating Claimants a total

of $701,023,225.35 after setting aside the 9% Common Benefit Fees holdback from

their gross awards. While this is monumental in the context of a six-year settlement

program, payments remain to be processed for 207,854 Participating Claimants, in

both the Expedited and Deferred Payment Programs, not to mention the

Extraordinary Injury Fund program.

      Some Participating Claimants are represented by Primary Counsel law firms

participating in the Settlement Program’s “Ledgering Process” (266 law firms),

while others are represented by “non-ledgering” law firms (73 firms). For those law

firms participating in the Ledgering Process, the undersigned has a visual into all

aspects of the Claimant payment process; for the non-ledgering law firms, the

undersigned does not.

      In order for the undersigned to manage the settlement payment process for all
    Case 3:19-md-02885-MCR-HTC Document 4051 Filed 05/17/24 Page 2 of 4

                                                                           Page 2 of 4


Claimants effectively and efficiently and to ensure compliance with all Court orders,

the undersigned must be able to review the entire ledgering information for every

Claimant participating in the Settlement Program, whether their respective law firm

is in the Ledgering Process or non-ledgering.

       Accordingly, it is ORDERED that:

       1.    By May 24, 2024, the 73 non-ledgering Primary Counsel firms

identified in the attached Exhibit A are required to furnish to BrownGreer the

information on their attorney’s fees and expenses attributable to each Participating

Claimant for whom they serve as Primary Counsel in the Settlement Program, using

the process provided by BrownGreer and as described in this Order.

       2.    These Primary Counsel firms are to access their Primary Counsel Portal

with BrownGreer, select Bulk Submission from the menu on the left of the Home

screen, then Earplugs Claimant Ledger Submission, and then click on the link

provided to download a Claimant Ledger Excel spreadsheet BrownGreer has placed

there for the firm to use to respond to this Order.

       3.    Primary Counsel shall enter the information necessary to complete the

Claimant Ledger Excel spreadsheet to provide this essential information for each

Claimant:

    (a) Retainer Agreement Fee Percentage: Enter the fee percentage from the

       Primary Counsel retainer agreement (include fees for any other firm that will



Case No. 3:19md2885/MCR/HTC
   Case 3:19-md-02885-MCR-HTC Document 4051 Filed 05/17/24 Page 3 of 4

                                                                              Page 3 of 4


      share in any part of the fee).

   (b) Cost First or Fee First: Enter Cost First to indicate that Total Claimant Owed

      Expenses are deducted from the Claimant’s Settlement award before any

      attorney’s fees are calculated; or enter Fee First to indicate that attorney’s fees

      are calculated on the Claimant’s award before Claimant Owed Expenses are

      deducted.

   (c) Attorney’s Fees: For Claimants who have been paid Awards, enter the dollar

      amount charged to them by Primary Counsel as attorney’s fees.

   (d) Total Claimant Owed Expenses. Enter the total amount of all expenses owed

      by the Claimant to Primary Counsel and any other CAE Counsel. For those

      Claimants who have been paid awards, enter the dollar amount charged to

      them by Primary Counsel from their awards.

      4.    Primary Counsel must use the Claimant Ledger spreadsheet

downloaded from their Portal and are not to copy it to make a different one to fill

out or alter its formatting before submitting it. After completing the Claimant

Ledger, Primary Counsel shall use the Upload function on their Portal to furnish

their Claimant Ledger to BrownGreer. Primary Counsel are required to update their

Claimant Ledger as and when any of the previously submitted data changes.

      5.    The information submitted in Claimant Ledgers shall not be filed of

record or otherwise made public and instead shall be kept confidential and used by



Case No. 3:19md2885/MCR/HTC
   Case 3:19-md-02885-MCR-HTC Document 4051 Filed 05/17/24 Page 4 of 4

                                                                         Page 4 of 4


the Court and its advisors solely in the management and oversight of the Settlement

Program.

      SO ORDERED, on this 17th day of May, 2024.



                                M. Casey Rodgers
                                M. CASEY RODGERS
                                UNITED STATES DISTRICT JUDGE




Case No. 3:19md2885/MCR/HTC
